Case 5:24-cv-00449-KK-SHK Document 23 Filed 06/21/24 Page 1 of 2 Page ID #:138



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

  Case No.      EDCV 24-0449-KK-SHKx                                     Date: June 21, 2024
  Title: Rafael Arroyo v. Western Land Properties, LLC et al



 Present: The Honorable KENLY KIYA KATO, UNITED STATES DISTRICT JUDGE


                  Noe Ponce                                                Not Reported
                 Deputy Clerk                                             Court Reporter


      Attorney(s) Present for Plaintiff(s):                    Attorney(s) Present for Defendant(s):
                 None Present                                              None Present

 Proceedings:      (In Chambers) Order to Show Cause why Counsel Should Not Be
                   Sanctioned for Failure to Appear


        On December 5, 2023, plaintiff Rafael Arroyo filed a Complaint in San Bernardino Superior
 Court alleging violations of the Americans With Disabilities Act and California’s Unruh Civil Rights
 Act. ECF Docket No. (“Dkt.”) 9-1. On March 1, 2024, defendants Western Land Properties, LLC,
 and Canadian Guys Burgers Limited removed the action to this Court. Dkt. 1.

           On April 5, 2024, defendant Canadian Guys Burgers Limited filed a Notice of Settlement of
 the entire action. Dkt. 16. Hence, on April 7, 2024, the Court issued an Order directing the parties
 to file, “[n]o later than May 6, 2024, . . . either (1) a Stipulation of Dismissal under Fed. R. Civ. P.
 41(a)(1)(A)(ii); (2) a Stipulation for an Order of Dismissal under Fed. R. Civ. P. 41(a)(2); or (3) a
 motion to reopen[.]” Dkt. 17.

        On May 6, 2024, Plaintiff filed a Motion to Reopen after attempts to finalize the settlement
 agreement failed, and defendant Western Land Properties stopped responding to communications.
 Dkt. 18. Defendants failed to oppose the Motion, and on June 3, 2024, the Court granted Plaintiff’s
 Motion to Reopen pursuant to Local Rule 7-12. Dkt. 20. The Court also set a status conference for
 June 20, 2024, at 9:00 a.m. Id.

          On June 20, 2024, Plaintiff and defendant Canadian Guys Burgers Limited appeared at the
 previously set Status Conference. Counsel for defendant Western Land Properties, LLC, however,
 failed to appear. As represented in the Motion to Reopen and based upon statements made at the
 Status Conference, counsel has not been able to move this case towards settlement, in part, because
 of defendant Western Land Properties, LLC’s failure to respond and engage in this matter.

  Page 1 of 2                         CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk NP
Case 5:24-cv-00449-KK-SHK Document 23 Filed 06/21/24 Page 2 of 2 Page ID #:139




         Accordingly, in light of counsel for defendant Western Land Properties, LLC’s failure to
 appear at the June 20, 2024 hearing, counsel for defendant Western Land Properties, LLC, is
 ordered to show cause in writing no later than June 27, 2024, why counsel should not be sanctioned
 in the amount of $500 for failure to appear at the June 20, 2024 hearing. Counsel is explicitly
 warned that failure to file a timely written response will result in sanctions.

         IT IS SO ORDERED.




  Page 2 of 2                      CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk NP
